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             Requests for Exclusion (Postmark Deadline: July 2, 2020)


          JND ID                     Name                      Postmark Date
1.          476         Dawn Van Brunt                    06/18/2020
2.          495         Stanford L. West                  06/23/2020
3.          148         Eduardo Garcia-Munoz              06/30/2020
4.          460         Rochelle V. Thomas                07/01/2020
5.          506         Timothy J. Yanahan                07/02/2020
